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                       EXHIBIT 1
CertifiedDocumentNumber:93110450-Page1of2   Case 4:21-cv-00353 Document 1-2 Filed on 02/03/21 in TXSD Page 2 of 22
CertifiedDocumentNumber:93110450-Page2of2   Case 4:21-cv-00353 Document 1-2 Filed on 02/03/21 in TXSD Page 3 of 22
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 2, 2021


     Certified Document Number:        93110450 Total Pages: 2




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                      2020-60646 / Court: 055
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                                                         Case 4:21-cv-00353 Document 1-2 Filed on 02/03/21 in TXSD Page 16 of 22                            1/25/2021 9:40 AM
                                                                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                                                                                      Envelope No. 49980978
                                                                                                                                                          By: Lewis John-Miller
                                                                                                                                                     Filed: 1/25/2021 9:40 AM

                                                                                        CAUSE NO. 2020-60646



                                                    LAKEISA BROWN,                                    §     IN THE DISTRICT COURT OF
                                                                                                      §
                                                           Plaintiff,                                 §
                                                                                                      §
                                                    v.                                                §     HARRIS COUNTY, TEXAS
                                                                                                      §
                                                    EMBREY MANAGEMENT SERVICES                        §
                                                                                                      §
                                                                                                      §
                                                                                                      §
                                                                                                      §
                                                           Defendant.                                 §     55TH JUDICIAL DISTRICT



                                                          DEFENDANT EMBREY MANAGEMENT SERVICES’ ORIGINAL ANSWER
                                                                      TO PLAINTIFF’S ORIGINAL PETITION

                                                           Defendant Embrey Management Services (“Defendant” and/or Embrey”) files this

                                                    Original Answer to Plaintiff Lakeisa Brown’s (“Plaintiff”) Original Petition (“Petition”), and

                                                    responds as follows:

                                                                                               I.
                                                                                         GENERAL DENIAL

                                                           Embrey asserts a general denial as authorized by TEX. R. CIV. P. 92, and respectfully

                                                    requests that the Court require the Plaintiff to prove each of her claims, charges, and allegations

                                                    by a preponderance of the evidence under the Constitution and laws of the state of Texas.
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                                                    Defendant respectfully requests that it be allowed to plead further defenses in this cause as the

                                                    facts surrounding this matter are developed.
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                                                                                            II.
                                                                              EMBREY’S AFFIRMATIVE DEFENSES

                                                           Without waiving the foregoing general denial or assuming burdens of proof not otherwise

                                                    assigned to it by applicable law, Embrey alternatively pleads the following defenses and reserves

                                                    the right to plead additional defenses which may become apparent during discovery in this case.

                                                                                            FIRST DEFENSE

                                                           EMBREY alternatively pleads that Plaintiff was an at-will employee, as that term is

                                                    defined under the common law of Texas, and Plaintiff could be terminated at any time for any

                                                    reason, not specifically prohibited by state or federal law, and with or without cause.

                                                                                          SECOND DEFENSE

                                                           EMBREY alternatively pleads that Plaintiff’s claims are barred in whole or in part to the

                                                    extent such claims were not pursued within the applicable statute of limitations.

                                                                                           THIRD DEFENSE

                                                           EMBREY alternatively pleads Plaintiff’s claim is barred to the extent an adequate state

                                                    or federal statutory remedy precludes Plaintiff’s claim.

                                                                                          FOURTH DEFENSE

                                                           EMBREY alternatively pleads that Plaintiff’s recovery is barred or reduced to the extent

                                                    she failed to mitigate her damages.
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                                                                                           FIFTH DEFENSE

                                                           EMBREY alternatively pleads that it is not liable for acts, if any, by employees that were

                                                    not authorized by EMBREY, and that those employees had no express or implied authority to

                                                    engage in acts that were inconsistent with EMBREY’s written rules prohibiting conduct

                                                    constituting unlawful termination or retaliation.     Any improper acts by certain individuals
                                                        Case 4:21-cv-00353 Document 1-2 Filed on 02/03/21 in TXSD Page 18 of 22



                                                    employed by or associated with EMBREY were beyond the course and scope of employment,

                                                    and EMBREY is not responsible for those actions, if any.

                                                                                             SIXTH DEFENSE

                                                             Defendant alternatively pleads that any actions taken concerning Plaintiff were done for

                                                    legitimate, non-discriminatory business reasons, and based on reasonable factors other than

                                                    Plaintiff’s alleged disability or any other protected characteristic.

                                                                                           SEVENTH DEFENSE

                                                             Plaintiff’s claims and relief are barred to the extent the equitable doctrines of after-

                                                    acquired evidence, avoidable consequences, waiver, estoppel, laches, and/or unclean hands

                                                    apply.

                                                                                           EIGHTH DEFENSE

                                                             Even if Plaintiff proves she was subjected to unlawful discrimination, which Defendant

                                                    denies, the same action would have been taken regardless.

                                                                                            NINTH DEFENSE

                                                             If any improper, illegal or discriminatory actions were taken by any of Defendant’s

                                                    employees against Plaintiff, which Defendant denies, it was outside the course and scope of the

                                                    employee’s employment, contrary to Defendant’s policies and good faith efforts to comply with

                                                    the law and was not ratified, confirmed, or approved by Defendant. Thus, any such actions
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                                                    cannot be attributed or imputed to Defendant

                                                                                            TENTH DEFENSE

                                                             To the extent relevant to Plaintiff’s specified claims, Defendant has in place a clear and

                                                    well-disseminated policy against discrimination on the basis of any protected class and a

                                                    reasonable and available procedure for handling complaints providing for prompt and effective
                                                          Case 4:21-cv-00353 Document 1-2 Filed on 02/03/21 in TXSD Page 19 of 22



                                                    responsive action.       To the extent Plaintiff unreasonably failed to take advantage of the

                                                    preventative or corrective opportunities provided by Defendant or to avoid harm otherwise,

                                                    Plaintiff’s claims are barred.

                                                                                            ELEVENTH DEFENSE

                                                              To the extent Plaintiff complained adequately of allegedly-unlawful, discriminatory

                                                    actions, Defendant undertook a prompt investigation and made an appropriate remedial response.

                                                                                             TWELTH DEFENSE

                                                              Plaintiff’s damages are limited by all applicable damages caps and limitations provided

                                                    by law.

                                                                                         THIRTEENTH DEFENSE

                                                              Defendant is entitled to an offset or credit against Plaintiff’s damages, if any, based on

                                                    any    interim    earnings,   income,    unemployment      benefits,   disability   benefits,   workers’

                                                    compensation benefit, and/or Social Security benefits received by Plaintiff.

                                                                                        FOURTEENTH DEFENSE

                                                    ·         Defendant alleges that Plaintiff’s claims for punitive damages are barred to the extent that

                                                    the imposition of punitive damages would constitute a denial of due process under the United

                                                    States Constitution and the Texas Constitution.

                                                                                                   III.
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                                                                                            PRAYER FOR RELIEF

                                                              WHEREFORE, PREMISES CONSIDERED, Embrey Management Services respectfully

                                                    requests that Lakeisa Brown’s causes of action against Embrey be dismissed with prejudice, and

                                                    Lakeisa Brown take nothing by her suit against Embrey. Embrey further prays for recoupment

                                                    of money wrongfully obtained or possessed by Lakeisa Brown, and exemplary damages.
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                                                    Embrey also prays for recovery of its costs and for further such relief, general or special, at law

                                                    or in equity, to which it may be justly entitled.


                                                    Dated: January 25, 2021                             Respectfully submitted,



                                                                                                        /s/ Myrlintha P. Wilson
                                                                                                        Myrlintha Patrice Benford Wilson
                                                                                                        Texas Bar No. 00796195
                                                                                                        Patrice.wilson@meaderslaw.com
                                                                                                        MEADERS & LANAGAN, PC
                                                                                                        Two Riverway, Suite 845
                                                                                                        Houston, TX 77056
                                                                                                        (713) 907-0810 Telephone
                                                                                                        (832) 582-6825 Fax

                                                                                                        ATTORNEY FOR DEFENDANT
                                                                                                        EMBREY MANAGEMENT SERVICES
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                                                                                      CERTIFICATE OF SERVICE


                                                            I certify that on January 25, 2021, a true and correct copy of the the foregoing document
                                                    was duly served via the Court’s e-filing system, certified mail, return receipt requested, email, and/or
                                                    facsimile, on counsel of record as follows:


                                                                                             NLC LAW GROUP

                                                                                             Lucy Chukwurah
                                                                                            Principal Attorney
                                                                                         Texas Bar No. 24045657
                                                                                              Durham Center
                                                                                       5151 Katy Freeway, Suite 306
                                                                                           Houston, Texas 77007
                                                                                         lucy@nlclawgroup.com

                                                                                      ATTORNEYS FOR PLAINTIFF




                                                                                                        /s/ M. Patrice Wilson
                                                                                                        Myrlintha P. Benford Wilson
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     Certified Document Number:        94070003 Total Pages: 6




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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